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                  7 Attorneys for Plaintiff COLONY INSURANCE COMPANY
                  8
                  9                                UNITED STATES DISTRICT COURT
              10                                CENTRAL DISTRICT OF CALIFORNIA
              11                                                   EASTERN DIVISION
              12
              13 COLONY INSURANCE COMPANY,                                 CASE No.
                 a Corporation,
              14
                             Plaintiff,
              15
                       vs.
              16
                 ETHAN LONGLEY DBA FIFTY                                   COMPLAINT FOR
              17 ONE-FIFTY CONSTRUCTION: GVD-                              DECLARATORY RELIEF,
                 GUFFEY RIM FOREST; RANGI                                  REIMBURSEMENT AND
              18 GVD-GUFFEY; GVD-GUFFEY                                    EQUITABLE CONTRIBUTION
                 PARTNERS II; NAVIGATORS
              19 SPECIALTY INSURANCE                                       (DEMAND FOR JURY TRIAL)
                 COMPANY and DOES 1 through 10,
              20
                                       Defendants.
              21
              22
              23
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                  1               Plaintiff Colony Insurance Company (Colony), by and through its attorneys,
                  2 hereby alleges as follows by way of its Complaint against defendants Ethan Longley
                  3 dba Fifty One-Fifty Construction (Fifty One-Fifty), GVD-Guffey Rim Forest, Rangi
                  4 GVD-Guffey, GVD-Guffey Partners II, Navigators Specialty Insurance Company
                  5 (Navigators) and DOES 1 through 10 (collectively Defendants):
                  6                                   NATURE OF THE ACTION
                  7               1.    This is an insurance coverage dispute in which Defendant Fifty One-
                  8 Fifty seeks defense and indemnity on its own behalf and in which Defendant
                  9 Navigators seeks a defense and indemnity on behalf of Defendants GVD-Guffey
                 10 Rim Forest, Rangi GVD-Guffey, GVD-Guffey Partners II and DOES 1 through 10
                 11 from Colony under Master Policy No. AC900002A-6 in connection with the matter
             12 styled Elizarraras v. Valero Refining Company, et al. filed in San Bernardino
             13 County Superior Court, Case No. CIVDS1819395 (the Elizarraras Action).
             14                   2.    In this action, Colony seeks the following relief:
             15                   (a)   A declaratory judgment that Colony owes no duty to defend or
             16 indemnify Fifty One-Fifty in connection with the Elizarraras Action;
             17                   (b)   A declaratory judgment that Colony owes no duty to defend or
             18 indemnify GVD-Guffey Rim Forest, Rangi GVD-Guffey, GVD-Guffey Partners II
             19 and DOES 1 through 10, respectively, in connection with the Elizarraras Action;
             20                   (c)   Judgment in favor of Colony that Fifty One-Fifty and Rangi GVD-
             21 Guffey, respectively, are obligated to reimburse Colony for any and all attorneys’
             22 fees and costs Colony has paid or will pay in connection with the defense of Fifty
             23 One-Fifty and Rangi GVD-Guffey, respectively, in the Elizarraras Action; and
             24                   (d) Judgment in favor of Colony that Navigators is obligated to reimburse
             25 Colony for any and all attorneys’ fees and costs Colony has paid or will pay in
             26 connection with the defense of Rangi GVD-Guffey in the Elizarraras Action under
             27 the doctrine of equitable contributions.
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                 1                                           PARTIES
                 2               3.   Plaintiff Colony is a Virginia corporation with its principal place of
                 3 business in Virginia and, at all relevant times alleged herein, was an insurance
                 4 company authorized to conduct and was conducting the business of insurance in
                 5 California.
                 6               4.   Colony is informed and believes, and thereon alleges, that Defendant
                 7 Fifty One-Fifty is a licensed contractor organized under the laws of the State of
                 8 California and, at all relevant times alleged herein, was authorized to conduct
                 9 business in the State of California and was conducting business in the County of San
             10 Bernardino.
             11                  5.   Colony is informed and believes, and thereon alleges, that Defendants
             12 GVD-Guffey Rim Forest, Rangi GVD-Guffey, and GVD-Guffey Partners II are and
             13 were, at all relevant times alleged herein, organized and existing under the laws of
             14 the State of California and were authorized to conduct business in the State of
             15 California and were conducting business in the County of San Bernardino.
             16       6.      Colony is informed and believes, and thereon alleges, that Navigators
             17 Specialty Insurance Company is a New York corporation with its principal place of
             18 business in New York and, at all relevant times alleged herein, was an insurance
             19 company authorized to conduct and was conducting the business of insurance in
             20 California.
             21                  7.   Colony is ignorant of the true names and capacities of defendants
             22 DOES 1 through 10, inclusive, and therefore sues said defendants by such fictitious
             23 names. Colony will seek leave to amend when the true names and capacities of
             24 defendants DOES 1 through 10, inclusive, are ascertained. Defendants DOES 1-10
             25 are persons, corporations, partnerships or other entities who are seeking a defense
             26 and indemnity from Colony on their own behalf or on behalf of others in connection
             27 with the Elizarraras Action.
             28
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                  1                                  JURISDICTION AND VENUE
                  2               8.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332
                  3 in that there is complete diversity of citizenship between Plaintiff and Defendants
                  4 and the amount in controversy exceeds $75,000, exclusive of interest and costs and
                  5 any claim for punitive damages.
                  6               9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)
                  7 because all of the Defendants except Navigators reside in this District and/or
                  8 pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving
                  9 rise to the claims asserted herein occurred in this District.
                 10                     ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
                 11               10.    The allegations in Paragraphs 11 through 31 are common to all of
                 12 Colony’s causes of action and are incorporated into each by reference, as though
                 13 fully set forth therein.
                 14                                              The Policy
                 15               11.    Colony issued Master Policy No. AC900002A-6 (the Policy) to the
             16 named insured “Artisan Contractors Association of America”. The Policy includes
             17 Commercial General Liability Coverage.                     The Commercial General Liability
             18 insuring agreement in the Policy, as amended by Endorsement U159-0702,
             19 provides in relevant part:
             20                   SECTION I - COVERAGES
             21                   COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
             22                   LIABILITY
             23                   1.     Insuring Agreement
             24                   a.     We will pay those sums that the insured becomes legally obligated to
             25                          pay as damages because of “bodily injury” or “property damage” to
             26                          which this insurance applies. We will have the right and duty to defend
             27                          the insured against any “suit” seeking those damages. However, we
             28                          will have no duty to defend the insured against any “suit” seeking
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                  1                     damage for “bodily injury” or “property damage” to which this
                  2                     insurance does not apply....
                  3               b.    This insurance applies to “bodily injury” and “property damage” only
                  4                     if:
                  5               (1)   The “bodily injury” or “property damage” is caused by an “occurrence”
                  6                     that takes place in the coverage territory;
                  7               (2)   The “bodily injury” or “property damage” occurs during the policy
                  8                     period
                  9
                 10               (4)   The “bodily injury” or “property damage” is caused by or results from
                 11                     the business described in the Schedule.
                 12               12.   Defendant Fifty One-Fifty qualifies as an insured member under the
             13 Policy for the policy period July 16, 2016 through July 16, 2017 pursuant to
             14 Certificate No. ACA-2443-4, a true and correct copy of which is attached hereto as
             15 Exhibit “A” and incorporated herein by reference.
             16        13. Defendant Rangi GVD-Guffey was named as an Additional Insured
             17 under the Policy pursuant to Endorsement Form No. U156-0310. A true and correct
             18 copy of the Certificate of Liability Insurance and Endorsement Form No. U156-
             19 0310 is attached hereto as Exhibit “B” and incorporated herein by reference.
             20       14. The Policy includes the following policy endorsement which states, in
             21 relevant part:
             22 ABSOLUTE
             23 AUTO, AIRCRAFT AND WATERCRAFT EXCLUSION
             24                   This endorsement modifies insurance provided under the following:
             25                   COMMERCIAL GENERAL LIABILITY COVERAGE PART
             26                   A.    SECTION I - COVERAGES, COVERAGE A BODILY INJURY
             27                         AND      PROPERTY        DAMAGE         LIABILITY,     2.   Exclusions,
             28                         paragraph g. is deleted and replaced with the following:
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                 1                     [This insurance does not apply to:]
                 2                     g-    Aircraft, Auto or Watercraft
                 3                     “Bodily injury” or “property damage” arising directly or indirectly out
                 4                     of the ownership, maintenance, use or entrustment to others of any
                 5                     aircraft, “auto” or watercraft. Use includes operation and “loading or
                 6                     unloading.”
                 7                     This exclusion applies even if the claims against any insured allege
                 $                     negligence or other wrongdoing in the supervision, hiring, employment,
                 9                     training or monitoring of others by that insured, if the “occurrence”
             10                        which caused the “bodily injury” or “property damage” involved the
             11                        ownership, maintenance, use or entrustment to others of any aircraft,
             12                        “auto” or watercraft.
             13
             14                  15.   The term “auto” is defined in the Policy and includes “A land motor
             15 vehicle, trailer or semitrailer designed for travel on public roads, including any
             16 attached machinery or equipment....”
             17                                The Complaint in the Elizarraras Action
             18                  16.   On or about July 26, 2018, Pearl Elizarraras filed a Complaint for
             19 Personal Injury and Property Damage in San Bernardino County Superior Court,
             20 Case No. CIVDS1819395 (the Elizarraras Action).
             21                  17.   On or about October 23, 2018, GVD-Guffey Rim Forest was added as
             22 Doe 1, Rangi GVD-Guffey was added as Doe 2, GVD-Guffey Partners II was added
             23 as Doe 3 and Fifty One-Fifty was added as Doe 4 to Pearl Elizarraras’ Complaint in
             24 the Elizarraras Action.
             25                  18.   The Complaint in the Elizarraras Action asserts causes of action for
             26 general negligence and premises liability against the Defendants. Both causes of
             27 action are predicated on allegations that on August 25, 2016, Ms. Elizarraras was
             28 driving her motorcycle in the parking lot of The Depot located at 26599 Pine
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                 1 Avenue, Rimforest, California 92378 when she drove over a steel gas hose cover on
                 2 the ground that was allegedly not secured properly. Ms. Elizarraras lost control and
                 3 was thrown from the motorcycle, which allegedly caused her to suffer neck and
                 4 back injuries as well as damage to the motorcycle. The Elizarraras Complaint
                 5 alleges that Defendants failed to repair the gas hole cover and/or warn its guests,
                 6 patrons and invitees of its state of disrepair and the dangerous condition that it
                 7 caused.
                 8     Cross-Complaint of GVD-Guffev Rim Forest Rangi GVD-Guffev and GVD-
                 9                                 Guffey Partners II
             10        19. On or about November 20, 2018, GVD-Guffey Rim Forest, Rangi
             11 GVD-Guffey and GVD-Guffey Partners II filed a Cross-Complaint in the
             12 Elizarraras Action against Fifty One-Fifty asserting the following causes of action:
             13 (1) implied contractual indemnity; (2) total indemnity; (3) equitable indemnity; (4)
             14 express indemnity; (5) breach of express and implied warranties; (6) breach of
             15 written contract; (7) contribution; (8) declaratory relief re: duty to defend; (9)
             16 declaratory relief re: duty to indemnify; (10) declaratory relief re: contractual duties;
             17 and (11) declaratory relief re: contractual duties-additional insured obligation.
             18       20. The Cross-Complaint asserts that GVD-Guffey Rim Forest, Rangi
             19 GVD-Guffey and GVD-Guffey Partners II entered into a written contract with Fifty
             20 One-Fifty wherein Fifty One-Fifty allegedly agreed to defend, indemnify and hold
             21 harmless GVD-Guffey Rim Forest, Rangi GVD-Guffey and GVD-Guffey Partners
             22 II and their employees against liability for any injuries, loss or damage arising out
             23 the acts or omissions of Fifty One-Fifty. The Cross-Complaint further alleges that
             24 Fifty One-Fifty owes a duty to defend them in the Elizarraras Action and to the
             25 extent they are held liable, said liability would be the result of the acts or omissions
             26 of Fifty One-Fifty and GVD-Guffey Rim Forest, Rangi GVD-Guffey and GVD-
             27 Guffey Partners II would entitled to indemnity.
             28
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                 1                               Cross-Complaint of GVD Retail, Inc.
                 2               21.    On or about October 29, 2019, GVD Retail, Inc. filed a Cross-
                 3 Complaint in the Elizarraras Action against Fifty One-Fifty asserting causes of
                 4 action for equitable indemnity, apportionment of fault, declaratory relief, and
                 5 comparative negligence. The Cross-Complaint asserts generally that if GVD Retail
                 6 is found liable to Ms. Elizarraras, said liability would be the result of the acts or
                 7 omissions of Fifty One-Fifty and GVD Retail would be entitled to indemnification,
                 8 in whole or in part, from Fifty One-Fifty.
                 9                           Cross-Complaint of the Guffey Group, LLC
             10                  22.    On or about November 8, 2019, the Guffey Group LLC filed a Cross-
             11 Complaint in the Elizarraras Action against Fifty One-Fifty asserting causes of
             12 action for (1) implied indemnity; (2) equitable indemnity; (3) apportionment; (4)
             13 contribution; and (5) declaratory relief.
             14                  23.    The causes of action against Fifty One-Fifty are based on allegations
             15 that if the Guffey Group, LLC is found liable for any damages to Ms. Elizarraras in
             16 the Elizarraras Action, then such damages were primarily and ultimately caused by
             17 the acts, breaches and omissions of Fifty One-Fifty and Fifty One-Fifty is obligated
             18 to indemnity The Guffey Group, LLC in whole or in part.
             19                        Fifty One-Fiftv’s Tender to Colony and Coverage Dispute
             20                  24.    Fifty One-Fifty provided Colony with notice of the Elizarraras Action
             21 and requested a defense in connection with Ms. Elizarraras’ Complaint as well as
             22 the above-identified Cross-Complaints. Colony acknowledged receipt of notice and
             23 initially determined its owed no duty to defend or indemnify on the ground that the
             24 Absolute Auto, Aircraft and Watercraft Exclusion in the Policy applies to fully
             25 preclude coverage for the Elizarraras Action.
             26                  25.   Fifty One-Fifty disagreed that the Absolute Auto, Aircraft and
             27 Watercraft Exclusion applies and has repeatedly requested that Colony reconsider its
             28 coverage position.
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                 1               26.   Although the Policy does not provide coverage for the Elizarraras
                 2 Action, given the coverage dispute, Colony has agreed to provide Fifty One-Fifty
                 3 with a defense in connection with Plaintiffs Complaint and the Cross-Complaints,
                 4 subject to a full and complete reservation of rights under the Policy and applicable
                 5 law including, but not limited to, the right to seek reimbursement for all amounts
                 6 Colony pays in connection with the Elizarraras Action and has instituted this
                 7 lawsuit.
                 8       Navigators, GVD-Guffev Rim Forest Rangi GVD-Guffev and GVD-Guffev
                 9                      Partners II Tender to Colony and Coverage Dispute
             10       27. Colony is informed and believes and thereon alleges that GVD-Guffey
             11 Rim Forest, Rangi GVD-Guffey and GVD-Guffey Partners II are insured under a
             12 general liability insurance policy issued by Navigators and that Navigators has
             13 agreed to defend and is defending GVD-Guffey Rim Forest, Rangi GVD-Guffey
             14 and GVD-Guffey Partners II in connection with the Elizarraras Action.
             15      28. Navigators gave Colony notice of the Elizarraras Action on behalf of
             16 GVD-Guffey Rim Forest, Rangi GVD-Guffey and GVD-Guffey Partners II and
             17 requested that Colony provide them with a defense.
             18       29. Colony acknowledged receipt of the notice and advised that it owed no
             19 duty to defend or indemnify GVD-Guffey Rim Forest and GVD-Guffey Partners II
             20 on the ground that they do not qualify as insureds under the Policy. Colony further
             21 determined that it owed no duty to defend or indemnify GVD-Guffey Rim Forest,
             22 Rangi GVD-Guffey and GVD-Guffey Partners II on the ground that the Absolute
             23 Auto, Aircraft and Watercraft Exclusion in the Policy applies to fully preclude
             24 coverage for the Elizarraras Action.
             25                  30.   Navigators, GVD-Guffey Rim Forest, Rangi GVD-Guffey and GVD-
             26 Guffey Partners II have repeatedly requested that Colony reconsider its coverage
             27 position and have demanded that Colony provide a defense to GVD-Guffey Rim
             28 Forest, Rangi GVD-Guffey and GVD-Guffey Partners II in connection with the
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                  1 Elizarraras Action notwithstanding the fact that there is no potential for coverage
                  2 under the Policy.
                  3               31.    Although the Policy does not provide coverage for the Elizarraras
                  4 Action, given the coverage dispute, Colony has agreed to provide Rangi GVD-
                  5 Guffey with a defense in connection with Plaintiffs Complaint and the Cross-
                  6 Complaints, subject to a full and complete reservation of rights under the Policy and
                  7 applicable law including, but not limited to, the right to seek reimbursement for all
                  8 amounts Colony pays in connection with the Elizarraras Action and has instituted
                  9 this lawsuit.
                 10                                   FIRST CAUSE OF ACTION
                 11                     DECLARATORY RELIEF AGAINST FIFTY ONE-FIFTY
                 12                           (NO DUTY TO DEFEND OR INDEMNIFY!
             13        32. Colony incorporates by reference the foregoing allegations as though
             14 they were fully set forth herein.
             15        33. An actual controversy presently exists between Colony and Fifty One-
             16 Fifty with respect to whether Colony owes a duty to defend or indemnify Fifty One-
             17 Fifty in connection with the Elizarraras Action. Specifically, Colony contends that
             18 there is no potential for coverage under the Policy and therefore Colony owes no
             19 duty to defend or indemnify Fifty One-Fifty because the Absolute Auto, Aircraft
             20 and Watercraft Exclusion in the Policy applies to fully preclude coverage. Colony is
             21 informed and believes and thereon alleges that Fifty One-Fifty disputes Colony’s
             22 coverage position and contends that there is a potential for coverage under the
             23 Policy.
             24                   34.    Colony seeks a judicial declaration that there is no potential for
             25 coverage under the Policy for the Elizarraras Action and that Colony owes no duty
             26 to defend or indemnify Fifty One-Fifty in connection with the Elizarraras Action.
             27                   35.    Colony has no other existing, speedy, accurate, or proper remedy other
             28 than that prayed for and no remedy at law, by which the rights and duties of the
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                  1 parties may be adequately determined.
                  2               36.   A judicial declaration is necessary and appropriate at this time, and
                  3 under the circumstances alleged above, so that Colony and Fifty One-Fifty may
                  4 ascertain their respective rights and obligations under the Policy. Resolving this
                  5 dispute will promote judicial economy, avoid unnecessary burden and expense, and
                  6 encourage the prompt and expeditious resolution of the insurance coverage issues
                  7 presented.
                  8                                SECOND CAUSE OF ACTION
                  9          DECLARATORY RELIEF AGAINST GVD-GUFFEY RIM FOREST.
                 10 RANGI GVD-GUFFEY, GVD-GUFFEY PARTNERS IL NAVIGATORS AND
                 11                                     DOES 1 THROUGH 10
                 12                          (NO DUTY TO DEFEND OR INDEMNIFY!
                 13       37. Colony incorporates by reference the foregoing allegations as though
                 14 they were fully set forth herein.
                 15       38. Colony is informed and believes and thereon alleges that Navigators is
             16 presently defending GVD-Guffey Rim Forest, Rangi GVD-Guffey, GVD-Guffey
             17 Partners II and Does 1-10 in connection with the Elizarraras Action. Navigators has
             18 tendered their defense to Colony and demanded that Colony defend and indemnify
             19 each of them under the Policy.
             20       39. An actual controversy presently exists between Colony, on the one
             21 hand, and GVD-Guffey Rim Forest, Rangi GVD-Guffey, GVD-Guffey Partners II,
             22 Navigators and DOES 1 through 10, on the other hand, with respect to whether
             23 Colony owes a duty to defend or indemnify GVD-Guffey Rim Forest, Rangi GVD-
             24 Guffey, GVD-Guffey Partners II and Does 1 through 10, respectively, in connection
             25 with the Elizarraras Action. Specifically, Colony contends that there is no potential
             26 for coverage under the Policy and Colony owes no duty to defend or indemnify
             27 GVD-Guffey Rim Forest, GVD-Guffey Partners II and DOES 1 through 10 because
             28 they do not qualify as insureds under the Policy and because the Absolute Auto,
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                  1 Aircraft and Watercraft Exclusion in the Policy applies in any event to fully
                  2 preclude coverage. Colony further contends that it owes no duty to defend or
                 3 indemnify Rangi GVD-Guffey because the Absolute Auto, Aircraft and Watercraft
                  4 Exclusion in the Policy applies to bar coverage. Colony is informed and believes
                  5 and thereon alleges that GVD-Guffey Rim Forest, Rangi GVD-Guffey, GVD-
                  6 Guffey Partners II, Navigators and DOES 1 through 10, disagree with Colony’s
                  7 coverage position and contend that there is a potential for coverage under the Policy.
                  8               40.   Colony seeks a judicial declaration that there is no potential for
                  9 coverage under the Policy for the Elizarraras Action and that Colony owes no duty
                 10 to defend or indemnify GVD-Guffey Rim Forest, Rangi GVD-Guffey, GVD-
                 11 Guffey Partners II and DOES 1 through 10, respectively, in connection with the
             12 Elizarraras Action.
             13        41. Colony has no other existing, speedy, accurate, or proper remedy other
             14 than that prayed for and no remedy at law, by which the rights and duties of the
             15 parties may be adequately determined.
             16        42. A judicial declaration is necessary and appropriate at this time, and
             17 under the circumstances alleged above, so that Colony and GVD-Guffey Rim
             18 Forest, Rangi GVD-Guffey, GVD-Guffey Partners II, Navigators and DOES 1
             19 through 10 may ascertain their respective rights and obligations. Resolving this
             20 dispute will promote judicial economy, avoid unnecessary burden and expense, and
             21 encourage the prompt and expeditious resolution of the insurance coverage issues
             22 presented.
             23                                      THIRD CAUSE OF ACTION
             24            FOR REIMBURSEMENT AGAINST FIFTY ONE-FIFTY AND RANGI
             25                                             GVD-GUFFEY
             26                   43.   Colony incorporates by reference the foregoing allegations as though
             27 they were fully set forth herein.
             28                   44.   Colony has agreed to defend Fifty One-Fifty and Rangi GVD-Guffey,
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                  1 respectively, in connection with the Elizarraras Action, subject to a full and
                  2 complete reservation of rights under the Policy and applicable law, and has paid and
                  3 will pay attorneys’ fees and costs in connection with that defense.
                  4               45.   Colony expressly reserved its rights, pursuant to Buss v. Superior
                  5 Court, 16 Cal.4th 35 (1997) and Blue Ridge Ins. Co. v. Jacobsen, 25 Cal.4th 489
                  6 (2001), to recover all amounts paid in connection with Fifty One-Fifty’s and Rangi
                  7 GVD-Guffey’s defense in the Elizarraras Action on the ground that such defense
                  8 fees and costs are not even potentially covered under the Policy.
                  9               46.   As alleged above, there is no potential for coverage under the Policy
                 10 and Colony owes no duty to defend or indemnify Fifty One-Fifty and Rangi GVD-
                 II Guffey, respectively, in connection with the Elizarraras Action. Colony is therefore
                 12 entitled to recovery or reimbursement from Fifty One-Fifty and Rangi GVD-Guffey,
                 13 respectively, for all attorneys’ fees and costs Colony has paid or will pay to or on
                 14 behalf of Fifty One-Fifty and Rangi GVD-Guffey in connection with the defense of
                 15 the Elizarraras Action.
                 16                                FOURTH CAUSE OF ACTION
                 17               FOR EQUITABLE CONTRIBUTION AGAINST NAVIGATORS
                 18               47.   Colony incorporates by reference the foregoing allegations as though
             19 they were fully set forth herein.
             20        48. Colony has agreed to defend Rangi GVD-Guffey in connection with
             21 the Elizarraras Action, subject to a full and complete reservation of rights under the
             22 Policy and applicable law, and has paid and will pay attorneys’ fees and costs in
             23 connection with that defense.
             24       49. Colony expressly reserved its right, pursuant to Buss v. Superior Court,
             25 16 Cal.4th 35 (1997) and Blue Ridge Ins. Co. v. Jacobsen, 25 Cal.4th 489 (2001), to
             26 recover all amounts paid in connection with Rangi GVD-Guffey’s defense in the
             27 Elizarraras Action on the ground that such defense fees and costs are not even
             28 potentially covered under the Policy.
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                  1               50.   As alleged above, there is no potential for coverage under the Policy
                  2 and Colony owes no duty to defend or indemnify Rangi GVD-Guffey in connection
                  3 with the Elizarraras Action.
                  4               51.   Colony is informed and believes and thereon alleges that Navigators
                  5 owes a duty to defend Rangi GVD-Guffey in connection with the Elizarraras
                  6 Action.
                  7               52.   Colony    is   therefore   entitled   to   equitable   contribution   and
                  8 reimbursement from Navigators for all attorneys’ fees and costs Colony has paid or
                  9 will pay to or on behalf of Rangi GVD-Guffey in connection with the defense of the
                 10 Elizarraras Action.
                 II
             12                                          PRAYER FOR RELIEF
             13                   Wherefore, Colony prays for a judgment providing the following relief:
             14                   (a)   As to the First Cause of Action for Declaratory Relief (No Duty to
             15 Defend or Indemnify): A declaratory judgment that Colony owes no duty to defend
             16 or indemnify Fifty One-Fifty in connection with the Elizarraras Action;
             17       (b) As to the Second Cause of Action for Declaratory Relief (No Duty
             18 to Defend or Indemnify): A declaratory judgment that Colony owes no duty to
             19 defend or indemnify GVD-Guffey Rim Forest, Rangi GVD-Guffey, GVD-Guffey
             20 Partners II and DOES 1 through 10, respectively, in connection with the Elizarraras
             21 Action; and
             22                   (c)   As to the Third Cause of Action for Reimbursement:
             23                         (1) Judgment in favor of Colony that Fifty One-Fifty is obligated to
             24                         reimburse Colony for any and all attorneys’ fees and costs Colony has
             25                         paid or will pay in connection with the defense of Fifty One-Fifty in
             26                         the Elizarraras Action;
             27                         (2) Judgment in favor of Colony that Rangi GVD-Guffey is obligated
             28                         to reimburse Colony for any and all attorneys’ fees and costs Colony
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                 1                     has paid or will pay in connection with the defense of Rangi GVD-
                 2                     Guffey in the Elizarraras Action
                 3                     (3) Damages according to proof; and
                 4                     (4) prejudgment interest.
                 5               (d)   As to the Fourth Cause of Action for Equitable Contribution:
                 6                     (1) Judgment in favor of Colony that Navigators is obligated to
                 7                     reimburse Colony for any and all attorneys’ fees and costs Colony has
                 8                     paid or will pay in connection with the defense of Rangi GVD-Guffey
                 9                     in the Elizarraras Action under the doctrine of equitable contribution;
             10                        (2) Damages according to proof; and
             11                        (3) prejudgment interest.
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                  1
                  2               (e)   As to All Causes of Action:
                  3                     (1) For costs of suit incurred herein; and
                  4                     (2) For such other and further relief as the Court deems just and proper.
                  5
                  6 DATED: January 23, 2020                     MUSICK, PEELER & GARRETT LLP
                  7
                  8
                  9                                             By: /s/ Lawrence A. Tabb
                                                                    Lawrence A. Tabb
                 10                                                 Jennifer M. Kokes
                 11                                                 Attorneys for COLONY INSURANCE
                                                                    COMPANY
                 12
                                                     DEMAND FOR JURY TRIAL
                 13
                 14
                                  Plaintiff Colony hereby demands a jury trial as provided by Rule 38(a) of the
                 15
                      Federal Rules of Civil Procedure.
                 16
                 17
                      DATED: January 23, 2020                   MUSICK, PEELER & GARRETT LLP
                 18
                 19
             20
                                                               By: /s/ Lawrence A. Tabb
             21                                                    Larry A. Tabb
                                                                   Jennifer M. Kokes
             22
                                                                   Attorneys for COLONY INSURANCE
             23                                                    COMPANY
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